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Alexander&®Rosenbaum

FINANCIAL GROUP

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7-8300 dan@arfinancialgrp.com
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Guarapty Life™

Rev February 1, 2011

WHAT DOES FIDELITY & GUARANTY LIFE DO WITH YOUR PERSONAL INFORMATION?

Financial companies choose how they share your personal information. Federal law gives
consumers the right to limit some but not all sharing. Federal law also requires us to tell you how
we collect, share, and protect your personal information. Please read this notice carefully to

- understand what we do.

_ The types of personal information we collect and share depend on the product or service you have
with us. This information can include:

Social Security number

Income

Medical information

Account transactions

Assets

Investment experience.

All financial companies need to share customers’ personal information to run their

everyday business. In the section below, we list the reasons financial companies can

share their customers’ personal information; the reasons Fidelity & Guaranty Life chooses
to share; and whether you can limit this sharing.

For our everyday business purposes— Yes No
such as to process your transactions, maintain
your account(s), respond to court orders and

legal investigations, or report to credit bureaus

For our marketing purposes— to offer our Yes No
products and services to you

For joint marketing with other financial No We don’t share
companies

For our affiliates’ everyday business Yes No

purposes— information about your
transactions and experiences

For our affiliates’ everyday business No We don’t share
purposes— information about your
creditworthiness

Questions? Visit us on the web at www.fglife.com.

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Fidelity &
© Guaranty Life™

. Privacy Notice

Who is providing this notice?

Fidelity & Guaranty Life refers to:
Fidelity & Guaranty Life Insurance Company, Baltimore, MD
Fidelity & Guaranty Life Insurance Company of New York, New York, NY

How does Fidelity & Guaranty
Life protect my personal
information?

To protect your personal information from unauthorized access and use, we use
security measures that comply with federal law. These measures include computer
safeguards and secured files and buildings.

How does Fidelity & Guaranty
Life collect my personal
information?

We collect your personal information, for example, when you
apply for insurance

* pay insurance premiums

file an insurance claim

e give us your income information

« tell us about your investment or retirement portfolio

We also collect your personal information from others, such as credit bureaus,
affiliates or other companies.

Why can’t | limit all sharing?

Federal law gives you the right to limit only
e sharing for affiliates’ everyday business purposes—information about your
creditworthiness
e affiliates from using your information to market to you
e sharing for nonaffiliates to market to you

State laws and individual companies may give you additional rights to limit sharing.
See below for more on your rights under state law.

Affiliates

Companies related by common ownership or control. They can be financial and
nonfinancial companies

Fidelity & Guaranty Life does not share with its affiliates.

Nonaffiliates

Companies not related by common ownership or control. They can be financial and
nonfinancial companies

Fidelity & Guaranty Life does not share with nonaffiliates so they can market to you.

Joint marketing

A formal agreement between nonaffiliated financial companies that together market
financial products or services to you.

Fidelity & Guaranty Life doesn’t jointly market.

Upon your written request, we will send you a copy of relevant information we have about you in connection with your insurance
contract(s). Please address your request to Fidelity & Guaranty Life Service Center, P.O. Box 81497, Lincoln, Nebraska 68501-
1407. If you feel that our information is incorrect, let us know and we will review it. If we agree, we will correct our files. If we
do not agree, you may file a short statement of dispute with us. This statement will be included with any information disclosure
we make in the future, or sent to anyone you designate who may have received such information in the past two years, or as
otherwise required by law.

We may choose to modify our policy regarding the treatment of non-personal information at any time. Before we do so, we will
notify you and provide an updated notice.

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FIDELITY & GUARANTY LIFE INSURANCE COMPANY
A STOCK COMPANY

Home Office: Baltimore, Maryland

AGENT NAME AND ADDRESS:
DANIEL ROSENBAUM

1 NORTHFIELD PLAZA
NORTHFIELD, IL 60093

NOTICE TO OWNER: If you have questions or
need information about this certificate or need
assistance in resolving a complaint, please cail
Fidelity & Guaranty Life at 1-888-513-8797.

FGL SPDAMY-F-C (6-04)

This certificate is issued to the Owner named on the certificate information page and evidences the
Owner's interest under the Group Contract. The Group Contract is issued to the Contractholder by
the Company.

This certificate is issued in consideration of the application and payment of the single premium.

The single premium and any interest credited thereon accumulate until the annuity date. On the
annuity date, we will apply the account value to the annuity option then in effect.

READ YOUR CERTIFICATE CAREFULLY. This annuity certificate is part of a legal Contract
between the Contractholder and the Company. It is evidence of your benefits under that Group
Contract. This certificate contains terms and provisions that are applicable to all Owners under the
Group Contract. A copy of the Group Contract is held by the Contractholder. The terms of this
certificate are contained on this page and those which follow.

Signed for the Company.
A

lL

Lee Launer
President

(If applicable)

Countersigned at:

City: State: Date:
By Agent:

RIGHT TO CANCEL. If you decide not to keep this certificate, return it within 10 days
after you receive it. It may be returned to the agent who sold this certificate or it may be
mailed to us. The return of this certificate will void it from the beginning. The single
premium paid will be refunded within 10 days of our receipt of this certificate.

YOU HAVE PURCHASED AN ANNUITY CERTIFICATE. CAREFULLY REVIEW IT FOR
LIMITATIONS. CANCELLATION MAY RESULT IN A SUBSTANTIAL PENALTY KNOWN AS
A SURRENDER CHARGE. AT THE END OF EACH GUARANTEE PERIOD, YOU HAVE 30
DAYS IN WHICH TO SURRENDER THIS CERTIFICATE WITH NO SURRENDER CHARGE.
IF THE CERTIFICATE CONTINUES INTO A NEW GUARANTEE PERIOD, A NEW SET OF
IDENTICAL SURRENDER CHARGES WILL APPLY.

SUBJECT TO THE GUARANTEED MINIMUM VALUES IN THE CERTIFICATE, THE CASH
SURRENDER VALUES MAY INCREASE OR DECREASE BASED ON A MARKET VALUE

ADJUSTMENT PRIOR TO THE DATE OR DATES SPECIFIED IN THE CERTIFICATE. THE
MARKET VALUE ADJUSTMENT APPLIES WHEN A SURRENDER CHARGE APPLIES.

SINGLE PREMIUM DEFERRED ANNUITY

The credited interest rates are guaranteed for the time period shown on the certificate
information page.
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Nonparticipating: dividends are not payable.

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Any endorsements, restrictions, riders, or additional benefits follow Page 15.

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Certificate Information

Certificate Number: Contract Number: Contractholder: Trustee for OM Financial Group Insurance Trust
L9742286 132420

Owner(s) Name(s Birth Date(s Social Security Number(s

1952 na Date of Issue: May 10, 2017
Annuitant(s) Name: Birth Date(s Annuity Date: = May 10, 2034
mm _ , 1952

(Second named annuitant, if any, is the joint or contingent annuitant, as applicable.)

Beneficiary: Beneficiary is as named in the application or in the most recent beneficiary change on record.
Premium, Guarantee Period And Interest Rate

Single Premium Paid: $30,000.00 Guarantee Period: 5 Years *

Credited Interest Rate: Credited daily to the single premium at an effective annual interest rate of 4.20% from May 10, 2017 through
May 10, 2022.

Minimum Guaranteed Accumulation Interest Rate (For Initial Guarantee Period): 1.00%

First Year Additional Interest Rate: An additional 0.00% interest rate will be added to the credited rate for the first year.

“At the end of each guarantee period, the certificate will automatically renew for another 5-year guarantee period at the then current credited interest
rate with identical surrender charges. A new minimum guaranteed accumulation interest rate will be determined as stated in the Minimum
Guaranteed Accumulation Interest Rate provision. At the end of each guarantee period, you have 30 days in which to surrender this certificate
with no surrender charges.

Annuity Option: Option 2. Life income with a guaranteed period of 10 years. This annuity option is described in the annuity benefits section.

Endorsements And Riders Attached:
Waiver Of Surrender Charge - Nursing Home Rider, FGL WSC-NH-C (3-99)
Waiver Of Surrender Charge - Terminal lliness Rider, FGL WSC-TI-C (3-99)
Waiver Of Surrender Charge Rider - Unemployment, FGL-WSC-U-A-C (3-99)
Waiver Of Surrender Charge — Death Of Owner Rider, FGL WSC-DOO-C (2001)
Market Value Adjustment Rider, FGL MVAR-MYGA-87.5-F-C (3-04)
Free Surrender - Partial Withdrawal Of Interest Rider, FGL FS-I-C (2001)

The information set forth on this page regarding the owner(s), beneficiary(ies), annuitant(s), annuity option, and annuity date is subject to any change
submitted and on record in our home office.

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Certificate Information (Cont’d)

Certificate Number: 19742286

Table Of Guaranteed Values

Full Certificate End Of Year End Of Year Surrender

Years Account Value Surrender Value* Factor**
1 31,260.00 28,560.00 9.00%
2 32,572.92 30,072.12 8.00%
3 33,940.98 31,660.88 7.00%
4 35,366.50 33,330.05 6.00%
5 36,851.89 35,083.57 5.00%
6 37,220.40 33,903.73 9,00%
7 37,592.60 34,614.97 8.00%:
8 37,968.52 35,337.04 7.00%
9 38,348.16 36,070.05 6.00%
10 38,731.64 36,814.24 5.00%
11 39,118.95 39,118.95 0.00%
12 39,510.13 39,510.13 0.00%
13 39,905.23 39,905.23 0.00%
14 40,304.28 40,304.28 0.00%
15 40,707.32 40,707.32 0.00%
16 44,114.39 41,114.39 0.00%
17 41,525.53 41,525.53 0.00%
18 41,940.78 41,940.78 0.00%
19 42,360.18 42,360.18 0.00%
20 42,783.78 42,783.78 0.00%

The values are based on:
e The single premium paid as shown on the certificate information page.
¢ — Interest credited during the guarantee period at the interest rates shown on the certificate information page and at the minimum guaranteed
accumulation interest rate thereafter.
* — Renewal of the guarantee period and identical surrender charges.
e No partial surrenders are made.

The guaranteed cash surrender values illustrated are prior to the application of a market value adjustment.

Values within any certificate year and at the end of certificate years not shown are calculated on the same basis. They will be furnished on request.

* Surrender value assumes your written request for surrender is not received within 30 days following the end of each guarantee period. If your written
request for surrender is received by us within 30 days following the end of each guarantee period, the surrender value will equal the account value.

** There is no surrender factor applied if your written request for surrender is received within 30 days following the end of each guarantee period.

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Definitions

Annuitant

The natural person on whose life the amount and duration of annuity
payments depend. A joint annuitant or a contingent annuitant is a
second person on whose life the amount and duration of annuity
payments may depend. The annuitant may not be changed on or after
the annuity date.

Annuity Date

The date the account value is applied fo the annuity option then in
effect. The annuity option and the amount and frequency of annuity
payments become fixed on this date.

Annuity option
One of the annuity options described in the annuity benefits section.

Beneficiary

The person last named by you to receive the death benefit if the owner
is already deceased. If the owner is deceased and there is no
beneficiary living at the time that any death benefit first becomes
payable, then that benefit will be paid to the contingent beneficiary or, if
rione is then living, to the estate of the last owner to die. The
beneficiary or contingent beneficiary may also become the owner of this
certificate as described under the death of owner provision in the
death section,

Certificate Anniversary
The certificate anniversary is the day and month that coincide with the
date of issue in subsequent years after issue.

Code

The Internal Revenue Code, as amended. All references in this
certificate or in any attached rider, to and any section of the code or
regulations include any amended or successor sections or regulations,
as appropriate or required.

Date of Issue

The date we received and credited the single premium in our home
office. The date of issue is shown on the certificate information page.
Certificate months, years and anniversaries are measured from this
date.

Group contract
The group single premium deferred annuity contract under which this
certificate is issued.

Interest-bearing checking account

When this certificate describes any amounts which are payable by us,
whether it is for surrenders, withdrawals, annuity payments, or a lump-
sum death benefit, at our option, those payments will be made into an
interest-bearing checking account established in the name of the
owner, payee or recipient, as appropriate. The owner, payee or
recipient, as appropriate, will be able to withdraw all or part of the
proceeds in this account at any time. This does not apply to payments
which are requested fo be made to companies other than us. You may
contact us for any information regarding this account. You may also
request that we do not place the payments into this account.

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Nonnatural Person

A corporation, trust, estate, partnership or other non-individual.

Owner

The person named in the application or in the most recent change on
record entitled to ownership rights stated in this certificate. "Owner"
includes any person who succeeds to the ownership rights of this
certificate under the Death of Owner provision in the DEATH section.
The Owner may be changed as stated in the Ownership provision.

We, Our, Us, Company
Fidelity & Guaranty Life Insurance Company.

Written Request
A request written fo us and received by us on a form satisfactory to us.

You, Your
The Owner.

General Provisions

Any reference fo annuitant, joint annuitant, beneficiary, contingent
beneficiary, irrevocable beneficiary, Owner, contingent owner, and/or
payee, may include multiple persons.

Age
Any provisions referring to age mean age at the nearest birthday.

Assignment

We will not be responsible for the validity or sufficiency of any
assignment, To be binding on us, an executed assignment must be by
written request and consented to by any irrevocable beneficiary. Your
rights and any beneficiary's interest will be subject to the assignment.
Assignment of this certificate may subject you to income and gift tax.

Changes to Certificate

After we receive and record a written request for a change in Owner,
annuitant, or beneficiary, the change will take effect on the date the
request was originally signed, even if the Owner who signed the
request has since died. The change will be subject to any payments
made or actions taken by us before the written request for change was
received and recorded. We may require the return of this certificate for
endorsement or otherwise in the event of a change. We reserve the
right fo issue a revised certificate Information page in the event of any
change to this certificate.

Claims of Creditors
To the extent permitted by law, no benefit paid, or to become payable,
will be subject to any claim or process of law by any creditor.
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General Provisions (Cont'd)

Compliance With Internal Revenue Service
This Certificate will be interpreted in a manner consistent with the
requirements of Cade section 72(s).

We reserve the right to amend this certificate from time to time to
comply with any changes in the Code, regulations issued thereunder,
and administrative rulings. Any such amendment will be promptly
mailed to you at your last known address. We do not accept
responsibility for the tax treatment of this certificate. You should
consult your tax advisor.

Conformity With Statutes

if any provision in this certificate is in conflict with the laws of the state
which govern this certificate, the provision will be deemed to be
amended to conform with such laws.

Entire Contract
The entire Contract between the Contractholder and us consists of:
e The Group Contract;
e The Contractholder's application, a copy of which is attached
and made a part of the Contract;
* All amendments, endorsements and riders which are attached; and
e The entire contract as fo each Owner.

The entire contract for each Owner consists of:

e The Group Contract issued and held by the Contractholder;

e This Certificate;

The application, a copy of which is attached and made
a part of this Certificate; and

« Allamendments, endorsements, riders or revised certificate
Information page(s) which are attached to or mailed to your last
Known address.

Only the President, the Secretary, or a Vice President in our home
office can agree to change or waive any provisions which are part of
the entire contract. The change or waiver must be in writing.

Incontestability

We will not contest this certificate after the date of issue, except as
provided in the Misstatement of Birth Date provision in the ANNUITY
BENEFITS section.

Notification of Death

The death of any Owner or annuitant must be reported to us
immediately. We are entitled to recover any overpayments made
because of a failure to notify us of any such death. We are not
responsible for any incorrect payments which result from a failure to
immediately notify us of the death of any Owner or annuitant. From
time to time we may require proof that the Owner or annuitant is still
alive and may withhold any payments until such proof is received at our
home office,

Payments

You may by, written request, receive all payments by check or draft
from our home office. They will be sent to the recipient's last known
address,

FGL SPDA MY-F-C (6-04)

Protection of Benefits

Only you can assign, encumber or pledge any benefit paid under this
ceftificate. To the extent permitted by law, no benefit paid, or to
become payable, will be subject to any claim or process of law by any
creditor.

Qualified Plans

The trustee of a plan qualified under section 4041(a) of the Internal
Revenue Code may own this certificate as a plan investment.
However, the trustee may not transfer ownership of this certificate to
any participant under such a plan to provide plan benefits.

Ownership

Ownership Rights

At any time before the death benefit first becomes payable, you may:
Exercise any of the rights under this certificate.

* Assign this certificate.

e Subject to our agreement, change or amend this certificate.

The Death of Owner provision in the DEATH section describes to
whom ownership of this certificate will pass at the death of an Owner.

Joint Owners

Two natural persons may be named as joint owners. They will own this
certificate as joint tenants with rights of survivorship. While both are
alive, each must sign any written request made under this certificate.

Change of Owner

You may change ownership of this certificate by written request. The
new Owner's age may not exceed our then current underwriting
requirements for new certificate issues. A change in ownership of this
certificate may subject you fo income and gift tax.

Beneficiary

Change of Beneficiary

Before the annuity date, you may change the beneficiary or any
contingent beneficiary by written request. On or after the annuity date,
you may change the beneficiary or contingent beneficiary by written
request if the annuity option in effectis annuity option 1, 2, 5 or 7.

A beneficiary named irrevocably may not be changed without the
written consent of that beneficiary.

Payment to Beneficiary

Before making any payment, we may require evidence as to the
identity, age, and other facts about any person or class designated as a
beneficiary. We are entitled to make payments based on that evidence.
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Certificate Values

Account Value

The account value before the annuity date will be:
* The single premium; plus

e Allinterest credited; less

» Any amounts previously surrendered, including any surrender
charges,

Surrender Value
The surrender value is the account value less any surrender charge.

Interest

interest is credited daily and applied to the account value from the date
of issue at a rate which is never less than the minimum guaranteed
accumulation interest rate as shown on the certificate information page
and defined below. The certificate information page shows the credited
interest rate applicable to the single premium and the guarantee period
during which that rate will be credited. At the end of the guarantee
period, we will declare a new credited interest rate for the next
guarantee period. We will determine and fix in advance a current
credited interest rate applicable to the premium plus previously credited
interest .

Current effective annual interest rates may vary based on the date the
premium is received or the date a new rate applies to any premium plus
previously credited interest. The rate credited to any premium (or
premium plus previously credited interest) will be declared or changed
at the beginning of each guarantee period and will not be changed
during that period.

Minimum Guaranteed Accumulation Interest Rate

The minimum guaranteed accumulation interest rate will not be lower
than 1.00% or higher than 3.00%. The certificate information page
shows the minimum guaranteed accumulation interest rate for the initial
guarantee period. For subsequent guarantee periods, the minimum
guaranteed accumulation interest rate will be determined at the
beginning of each subsequent guarantee period and will not be
changed during that period. That rate is equal to the 12-month average
of the 5-Year Constant Maturity Treasury Rate (published by the
Federal Reserve} as of the first day of the month prior to the beginning
of the guarantee period, (e.g. the minimum rate for November-issued
annuities is determined by the 12-month average as of October 154),
less 1.25%, rounded to the nearest 0.05%.

Guarantee Period

The guarantee period is the time period shown on the certificate
information page during which the credited rate is quaranteed to remain
the same. The guarantee period begins on the date of issue and
subsequent guarantee periods begin immediately following the end of
each prior guarantee period. At the end of each guarantee period, we
will provide you with a new declared interest rate for the new guarantee
period.

The certificate will automatically renew into a guarantee period of the

same length with a new set of identical surrender charges, unless you
elect one of the options which follow.

FGL SPDA MY-F-C.(6-04)

Beginning on the first day immediately following the end of the
guarantee period and ending on the thirtieth day thereafter, you may
elect one of the options which fallow. All elections must be by written
request and received by the end of the 30-day period.

You may:

e Select an annuity option.

e Make a partial surrender with no surrender charges applied.

* Surrender this certificate in full with no surrender charges applied.

Basis of Contract Values
All benefits and values equal or exceed those required by the state in
which the Contract is delivered.

Notice of Certificate Values
At least once each year, we will send you a report of the current annuity
values.

Surrender

Partial Surrender

Before the annuity date, you may surrender part of this certificate's
account value. Any surrender charges will be deducted from the
account value,

A partial surrender, including any charge thereon, may not reduce the

account value to less than $500. Such surrenders may be made:

e On a scheduled monthly, quarterly, semi-annual, or annual
systematic basis, in an amount of at least $100 per surrender.

e On an unscheduled basis no more than four times in a certificate
year, in an amount of at least $500 per surrender.

Full Surrender

Before the annuity date, this certificate may be surrendered in full for its
surrender value. The amount paid will equal the surrender value as of
the date we receive your written request.

Surrender Charge

A surrender charge will be imposed on certain withdrawals and at
death. The surrender charge period is equal in duration to each
guarantee period, The surrender charge equals the surrender factor
for the applicable year as shown on the certificate information page
multiplied by the portion of the account value withdrawn. The
account value withdrawn consists of the amount paid upon a
surrender request, or applied to an annuity option, and the surrender
charge thereon. Upon full surrender or annuitization, this is equal to
the account value.

At the end of each guarantee period, there is a 30-day window following
the start of the new guarantee period in which surrender charges are
waived. You may withdraw some or all of your account value with no

penalty.

Waiver of Surrender Charge

The surrender charge does not apply:

e {fpayments are made under an annuity option.

e (f you surrender within 30 days following the end of each guarantee
period.
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Surrender (Cont'd)

Surrender Requirements

We will require:

° Your written request,

s Return of the certificate to us for a full surrender.

Deferral of Payment

We may defer payment for a period of not more than 6 months after
we receive the request, as long as such deferral does not cause the
certificate to violate section 72(s) of the Internal Revenue Code.

Death

Death of Owner

Ownership Succession. At your death, ownership of this certificate will
pass fo the person(s) living on the date of your death in the order which
follows:

¢ Surviving joint Owner, if any.

e Beneficiary.

e Contingent beneficiary.

° Estate of the last Owner to die.

lf more than one natural person succeeds to the ownership rights of this
certificate, then such persons will own this certificate as joint Owners.
Any instructions or designations of the prior Owner(s) will continue
unless changed in accordance with this certificate by the succeeding
Owner(s).

Death Before Annuity Date. If you die before the annulty date, the

successor Owner(s) must fully surrender and receive a distribution of

the entire proceeds of this certificate within 5 years of your death

except that:

¢ lf a natural person continues or succeeds to ownership of this
certificate, such person may begin receiving annuity payments with
respect to that person's proportionate interest within one year from
the date of your death (or within any longer period of time permitted
under the Code), provided annuity payments are distributed over
such person's life or over a period not extending beyond the life
expectancy of such person; and

» If the spouse (as defined under the Code) of the first Owner to die
continues or succeeds to ownership of this certificate, he or she is
not required fo surrender his or her proportionate interest in the
cettificate or receive any payments until the annuity date or if
earlier, until such spouse's death, in which case the Death of
Owner provision will apply.

Death on_or After Annuity Date. No distribution, other than annuity
payments as scheduled, is required if you die on or after the annuity
date unless you were also the last surviving annuitant, in which case
this section's Death of Annuitant provision will apply.

Death of Annuitant

Death Before Annuity Date. Except as provided in this section's
Special Annuitant Rules for Nonnatural Owners provision, no
distribution is required nor will any death benefit be paid if an annuitant
dies before the annuity date unless the deceased annuitant is also an
Owner, in which case this section's Death of Owner--Death Before

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Annuity Date provision will apply. if the last remaining annuitant dies
before the annuity date, then the current Owner or Owner's designee
will become the annuitant.

Death on or After Annuity Date, At the death of the annuitant(s) on or
after the annuity date, the death benefit, if any, will be as described for
the annuity option in effect. No death benefit will become payabie until
you notify us of the death of the annuitant(s), provide us with the
required proof of death and other information, and, if required, return
this certificate to us. A death benefit will not be paid under annuity
options 3, 4, or 6, or after the guaranteed benefits have been paid.

Any death benefit due will be paid to the person(s) living on the date of
such death in the order which follows:

Owner(s) or surviving joint Owner, if any.

e Beneficiary.

e Contingent beneficiary.

e Estate of the last Owner to die.

The recipient of any death benefit may name one or more persons to
receive any remaining death benefit after such recipient's death. If no
such beneficiary is named, any unpaid portion of the death benefit will
be paid to the deceased recipient's estate.

The death benefit may be paid in the form of a lump sum or the
remaining guaranteed annuity payments, as scheduled, instead of in a
lump sum, Except for a death benefit under annuity option 7, any lump
sum payment will be equal to the commuted value. The commuted
value is determined by discounting the remaining guaranteed annuity
payments at an annually compounded interest rate(s) which is (are) 1%
more than the rate(s) used by us to determine those payments. The
1% increase in the discount rate(s) results in a decrease in the value
received. The commuted value will always be less than the sum of the
remaining guaranteed annuity payments. The commuted value will be
calculated as of the date such payment will be made.

Any election to receive a form of payment other than that provided
under the annuity option in effect must be made within 60 days of the
date the death benefit first becomes payable. Such amounts must also
be paid within the time period required under section 72(s) of the Code.

Special Rules for Nonnatural Owners

if a nonnatural person is named as Owner, then this certificate must be

fully surrendered and the entire amount distributed within five years of:

e The death before the annuity date of the annuitant or a joint
annuitant; or

e A change in the annuitant or joint annuitant

These distribution requirements do not apply to a nonnatural Owner
who holds this certificate as an agent for a natural person. If you are a
nonnatural Owner who holds this certificate in such a representative
capacity, then the distribution requirements under this section’s Death
of Owner - Death Before Annuity Date provision apply as if the Owner
were the person(s) for whom you are acting as agent. You must notify
us of the death of any such person.
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Annuity Benefits

Annuity Payments

Annuity payments will:

e Start at the end of the first payment period following the annuity
date,

* Be paid to the order of the Owner(s) or his or her (their) designee.

e Be paid on a monthly, quarterly, semi-annual, or annual basis, as
chosen by you before the annuity date.

e Cease at the death of all annuitants, in which case the Death of
Annuitant - Death on or After Annuity Date provision in the DEATH
section may apply.

Annuity Payment Amount

The amount of annuity payments will depend on the:

* Account value as of the annuity date, less any applicable state
or federal premium taxes;

e Annuity option chosen;

e Payment frequency chosen; and

« Age of the annuitant(s),

The payments will not be less than those reflected in the Table of
Guaranteed Monthly Payments.

Misstatement of Birth Date

Before making any annuity payment, we may require proof of each
annuitant’s birth date. [f the birth date of any annuitant is misstated, we
will adjust the amount fo be paid by us, It will be that which would have
been paid if the correct birth date had been stated.

For misstatements which result in underpayments, we will:
« Include the full amount of the underpayment in our next payment.
e Add interest of 6% per year to that payment.

For misstatements which result in overpayments, we will:

¢ Spread the full amount of the overpayment over the remaining
guaranteed payment pericd, if any, or 10 years, whichever is less,
and deduct a level portion of that amount from each of those future
payments.

* Charge interest of 6% per year against the balance of the amount
overpaid.

Annuity Date

Unless a different date is requested in the application, this certificate will

be issued with an annuity date, which is the later of:

The certificate anniversary nearest the annuitant's, or the oldest
annuitant's if a second annuitant is named, 90th birthday; or

e 10 years from the date of issue.

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In no event may any annuity date be later than the certificate
anniversary nearest the annuitant's, or the oldest annuitant's if a

second annuitant is named, 100th birthday.. This date is determined by
the age of the annuitant(s) named in the application and may not be
extended by a change in annuitant(s); except that this date may be
based on a successor annuitant's birth date if such annuitant is the
Owner and was married to the first Owner at such Owner's death.

Change of Annuity Date

The annuity date shown on the certificate information page may be
changed before such date by your written request. The new date must
be after the date of such request.

Annuity Options

There are seven annuity options. You may elect to receive payments

under any annuity option described in the certificate or under any other

annuity option, which we may then offer. Unless another annuity option

and payment frequency are requested before the annuity date, monthly

payments will be made under:

« Annuity option 2 with a guaranteed period of 10 years, if there is only
one annuitant.

e Annuity option 5 with 50% joint annuitant payments and a guaranteed
period of 10 years, if there is a second annuitant.

We reserve the right to pay your account value in a lump sum if:
e The amount to be applied to the annuity option is less than $2,000; or
Any payment would be less than $20.

Change of Annuity Option

Before the annuity date, you may change the annuity option by written
request. The annuity option may not be changed on or after the annuity
date.

Descriptions of Annuity Options

Descriptions of the annuity options follow. Tables of Guaranteed
Monthly Payments for each annuity option follow this section. Any
fixed or guaranteed periods under annuity options 1, 2, and 5 may not
be less than 5 years nor more than 25. Any reduced rates under
annuity options 4, 5, and 6 following the death of an annuitant must be
based on whole percentages and in no case may be less than 25% of
the joint life income amount.

Annuity Option 1 Income for a Fixed Period

Payments are guaranteed for the number of years and months chosen.
If the annuitant dies before the end of the fixed period, a death benefit,
consisting of a lump sum amount equal to the commuted value will be
paid. The recipient of the death benefit may elect to receive the
remaining guaranteed annuity payments, as scheduled, instead of the
commuted value.

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Annuity Benefits (Cont'd)
Annuity Option 2 Life Income With a Guaranteed Period

Payments are guaranteed for the number of years chosen. Ifthe
annuitant is alive at the end of the guaranteed period, payments will
continue for as tong as the annuitant is alive. If the annuitant dies
before the end of the guaranteed period, a death benefit, consisting of
the remaining guaranteed annuity payments, as scheduled will be paid.

Annuity Option 3 Life. Income
Payments will be made for as long as the annuitant is alive. No
payments will be made after the annuitant's death.

Annuity Option 4 Joint and Contingent Life Income

Payments will be made for as long as the annuitant or contingent

annuitant is alive. The payments will:

+ Be paid in the joint life income amount while both the annuitant and
contingent annuitant are alive.

e Continue to be paid in that amount during the annuitant's lifetime at
the contingent annuitant's death.

* Continue to be paid after the death of the annuitant at the reduced

- rate requested and for as long as the contingent annuitant survives.
e Cease at the death of both the annuitant and contingent annuitant.

Annuity Option 5 Joint and Survivor Life Income
With Guaranteed Period

Payments are guaranteed for the number of years chosen. If either the

annuitant or joint annuitant is alive at the end of the guaranteed period,

payments will continue for as long as either is alive. The payments will:

* Be paid in the joint fife income amount while both the annuitant and
joint annuitant are alive.

* Continue to be paid after the death of either annuitant at the rate
requested and for so long as the remaining annuitant survives,

If both the annuitant and joint annuitant die before the end of the
guaranteed period, a death benefit, consisting of the remaining
guaranteed annuity payments, as scheduled, at the rate which applies
after the death of either annuitant, will be paid.

Annuity Option 6 Joint and Survivor Life Income

Payments will be made for as long as either the annuitant or joint

annuitant is alive. The payment will:

* Be paid in the joint fife income amount while both the annuitant and
joint annuitant are alive.

* Continue fo be paid after the death of either annuitant at the rate
requested and for so long as the remaining annuitant survives.

e Cease at the death of both the annuitant and joint annuitant.

Annuity Option 7 Life Income with Lump Sum Refund at Death
Payments will be made for as long as the annuitant is alive. If the

annuitant dies before the total amount of the payments made equals
the value applied to this annuity option (less any applicable state or
federal premium tax deductions), a death benefit, consisting of a lump
sum equal fo such value (less any applicable state or federal premium
tax deductions) less any annuity payments previously made, will be
paid.

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Tables Of Guaranteed Monthly Payments*
Amount for Each $1,000 Applied

Annuity Option 4. Income fora Fixed Period

Period Period Period

(Years) Payment (Years) Payment (Years) Payment
5 $17.31 8 $11.06 15 $6.20
6 14.53 9 9.90 20 4.82
7 12.54 10 8.97 25 3.99

Annuity Option 2. Life income With a Guaranteed Period
Number of Payments for a Guaranteed Period

Age 120 180 240 Age 120 180 240 Age 120 180 240
50 $3.12 $3.10 $3.06 60 3.92 3.84 3.70 66 4.64 4.44 4.14
55 3.47 3:43 3.36 61 4,03 3.93 3.77 67 4.79 4.55 4.21
56 3.55 3.50 3.42 62 4.14 4.03 3.85 68 4.93 4.66 4.27
57 3.64 3.58 3.49 63 4.26 4.12 3.92 69 5.09 477 4.34
58 3.73 3.66 3.56 64 4.38 4.23 3.99 70 5.25 4.88 4.40
59 3.82 3.75 3,63 65 4.51 4.33 4.07 75 6.15 5.42 4,64

Annuity Option 3. Life Income

Age Payment Age Payment
50 $3.13 63 4.34
55 3.50 64 448
56 3.58 65 4.63
57 3.67 66 479
58 3.77 67 4.96
59 3.87 68 5.14
60 3,98 69 5.33
61 4.09 70 5.53
62 4.22 75 6.81

*For ages, periods, and rates not shown, we will furnish the amount of payment on request. The Guaranteed Monthly Payments are based on
a 1.50% effective annual interest rate and the US Annuity 2000 Table with a mortality blend of 50% male and 50% female.

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Tables Of Guaranteed Monthly Payments (Cont'd)

Annuity Option 4. Joint Life Income With 50% Contingent Annuitant Payments

Annuitant Contingent Annuitant

Age 50 55 60 65 70 75
50 $2.92 $2.98 $3.03 $3.07 $3.09 $3.11
55 3.14 3.23 3.31 3.37 3.42 3.45
60 3.38 3.51 3.63 3.74 3.83 3.89
65 3.64 3.82 4.01 4.18 432 4.44
70 3.93 4.47 4.42 4.68 4,92 5.13
75 4,25 4.54 4.88 5.24 5.61 5.96

Annuity Option 4. Joint Life Income With 75% Contingent Annuifant Payments

Annuitant Contingent Annuitant

Age 50 55 60 65 70 5
50 $2.82 $2.91 $2.98 $3.03 $3.07 $3.10
55 2.98 3.11 3.22 3.31 3,38 3.43
60 3.14 3.31 3.48 3.63 3.75 3.84
65 3.29 3,52 3.75 3.98 4,18 4.34
70 3.44 3.71 4.02 4,34 4.66 4,94
75 3.57 3.89 4.27 4.70 5.16 5.61

Annuity Option 5. Joint and 50% Survivor Life Income With a 10 Year Guaranteed Period

Annuitant Contingent Annuitant

Age 50 55 60 65 70 1
50 $3.13 $3.31 $3.51 $3.74 $4.00 $4.29
55 3.31 3.50 3.72 3.98 4.28 4.62
60 3.54 3.72 3.98 4,28 4.62 5.02
65 3.74 3.98 4.28 4.63 5.03 5.50
70 4.00 4.28 4.62 5.03 5.52 6.07
5 4,29 4.62 5.02 5.50 6.07 6.74

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Tables Of Guaranteed Monthly Payments (Cont'd)

Annuity Option 5. Joint and 75% Survivor Life Income With a 10 Year Guaranteed Period

Annuitant Joint Annuitant

Age 50 55 60 65 70 75
50 $2.92 $3.06 $3.19 $3.33 $3.46 $3.59
55 3.06 3.23 3.41 3.58 3.75 3.92
60 3.19 3.41 3.63 3.87 4.10 4.34
65 3.33 3.58 3.87 4.17 448 4.78
70 3.46 3.75 4.10 4.48 4.90 5.32
75 3.59 3.92 4.31 4,78 5.32 5.88

Annuity Option 5. Joint and 100% Survivor Life Income With a 10 Year Guaranteed Period

Annuitant Joint Annuitant

Age 50 55 60 65 70 75
50 $2.73 $2.84 $2.93 $3.00 $3.05 $3.08
55 2.84 3.00 3.14 3.25 3.34 ° 3.40
60 2.93 3.14 3.34 3.53 3.68 3.78
65 3.00 3.25 3.53 3.80 4.04 4,24
70 3.05 3.34 3.68 4,04 444 4.73
75 3.08 3.40 3.78 4,24 4.73 5,21

Annuity Option 6. Joint and 50% Survivor Life Income Payments

Annuitant Joint Annuitant

Age 50 55 60 65 70 75
50 $3.13 $3.31 $3.54 $3.74 $4.00 $4.29
§5 3.31 3.50 3./2 3.99 4.29 4.62
60 3.51 3.72 3.98 4.28 463 5.02
65 3.74 3.99 4.28 4.63 5.04 5.51
70 4.00 4.29 4,63 5.04 5,53 6.11
75 4.29 462 5.02 6.51 6.11 6.81

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Tables Of Guaranteed Monthly Payments (Cont’d)

Annuity Option 6. Joint and 75% Survivor Life Income Payments

Annuitant Joint Annuitant
Age 50 55 60 65 70 75
50 $2.92 $3.06 $3.19 $3.33 $3.46 $3.59
55 3.06 3.23 3.41 3.58 3.76 3.92
60 3.19 3.41 3.63 3.87 4,10 432
65 3.33 3.58 3.87 4.18 4.49 4.84
70 3.46 3.76 410 4.49 4,92 5.36
75 3.59 3.92 4.32 4.81 5.36 5.96
Annuity Option 6. Joint and 100% Survivor Life Income Payments
Annuifant Joint Annuifant
Age 50 55 60 65 70 75
50 $2.73 $2.84 $2.93 $3.00 $3.05 $3.08
55 2,84 3.00 3.14 3.26 3.34 3.44
60 2.93 3,14 3.34 3.53 3.68 3.80
65 3.00 3.26 3.53 3.80 4.05 4,26
70 3.05 3.34" 3.68 4.05 4.43 477
75 3.08 3.44 3.80 4,26 477 5.30
Annuity Option 7. Life Income With Lump Sum Refund at Death
Age Payment Age Payment Age Payment
50 $2.93 60 $3.53 66 $4,04
55 3.20 61 3.64 67 4.14
56 3.26 62 3.69 68 4,24
57 3.32 63 3.17 69 4.35
58 3.39 64 3.86 70 447
59 3.46 65 3.95 7 5.12

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Endorsements

Entries on this page are to be made only by us at our home office. No other entries will be recognized.

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Waiver of Surrender Charge Rider - Nursing Home Confinement

This rider is a part of the Certificate to which it is attached.

Definitions

Effective Date
Written Request

Waiver of Surrender
Charge Benefit

Nonparticipating

Termination of Rider

Signed for the Company

Annuitant. The Annuitant's name as shown on page 3 of the Certificate.

You, Your. The Owner(s) of the Certificate.

Nursing Home. A state-licensed, nursing long-term care facility that provides skilled, continuous nursing care
or service under the supervision of a licensed nurse or physician.

This rider's effective date is the Certificate's Date of Issue.

We will require a written request for the Waiver of Surrender Charge Benefit.

th addition to the circumstances stated in the Certificate, the surrender charge does not apply if you are
confined to a nursing home provided:

« Confinement fo such nursing home first begins at least 1 year after the Certificate's Date of !ssue:

¢ Confinement has continued for at least 60 consecutive days;

The surrender is made while you are confined; and

e Written proof of confinement is received at our home office.

Dividends are not payable.

You may terminate this rider at any time by written request.

Fidelity & Guaranty Life Insurance Company

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Lee Launer
President

FGL WSC-NH-C (3-99)
Case: 1:21-cr-00239 Document #: 72-1 Filed: 01/30/24 Page 21 of 29 PagelD #:310

Waiver of Surrender Charge Rider - Terminal Illness

This rider is a part of the Certificate to which it is attached.

Definitions

Effective Date
Written Request

Waiver of Surrender
Charge Benefit

Nonparticipating

Termination of Rider

Signed for the Company.

Annuitant. The Annuitant's name as shown on page 3 of the Certificate.
You, Your. The Owner(s) of the Certificate.

Physician. A doctor of medicine who is:

e Duly qualified;

Licensed in the United States of America; and

« Performing within the scope of his or her license.

A physician must not be: you; the Annuitant; or the brother, sister, parent, spouse or child of either you or the
Annuitant or any spouse of any of the above.

Terminal Illness. liness or physical condition that results in your having a life expectancy of 12 months or
less.

This rider's effective date is the Certificate's Date of Issue.
We will require a written request for the Waiver of Surrender Charge Benefit.

In addition to the circumstances stated in the Certificate, the surrender charge does not apply if you have a

Terminal Illness provided:

e The Terminal Illness is diagnosed at least 1 year after the Certificate's Date. of Issue; and

* Written proof of the Terminal Illness is received at our home office. This proof will include, butis not limited
to, certification by a physician who provides medical care to you in connection with your Terminal Illness.
We reserve the right to obtain a second medical certification, at our expense, from a physician selected by
us,

Dividends are not payable.

You may terminate this rider at any time by written request

Fidelity & Guaranty Life Insurance Company

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Lee Launer

President

FGL WSC-TLC (3-99)
Case: 1:21-cr-00239 Document #: 72-1 Filed: 01/30/24 Page 22 of 29 PagelD #:311

Waiver of Surrender Charge Rider - Unemployment

This rider is a part of the certificate to which it is attached.

Effective Date This rider's effective date is the cerlificate’s Date of Issue.
Written Request We will require a Written Request for the Waiver of Surrender Charge Benefit.
Unemployment You are considered fo be unemployed if you:

e Are registered with your state unemployment office or other recognized employment agency; and
* Have not resigned, retired (whether voluntary or mandatory), or voluntarily forfeited your salary, wages, or
employment income.

Waiver of Surrender In addition to the circumstances stated in the certificate and in any rider which is part of
Charge Benefit the certificate, the surrender charge does not apply if you are unemployed, provided:
e You are under age 66 at the time of your Written Request;
Unemployment begins after the certificate’s Date of Issue;
Unemployment has continued for at least 30 consecutive days;
The surrender request is made while you are unemployed; and
Written proof of unemployment satisfactory to us is received at our
Home Office.

Nonparticipating Dividends are not payable.

Termination of Rider This rider will end when you reach age 65.

Signed for the Company at Baltimore, Maryland.

Fidelity & Guaranty Life Insurance Company
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Lee Launer

President

FGL WSC-U-A-C (3-99)
Case: 1:21-cr-00239 Document #: 72-1 Filed: 01/30/24 Page 23 of 29 PagelD #:312

Waiver of Surrender Charge Rider ~ Death of Owner

This rider is part of the Certificate to which it is attached. It is subject to the terms, conditions and provisions contained in the Certificate.

The following is added to the Waiver of Surrender Charge provision in the SURRENDER section.

Waiver of Surrender Charge in addition to the circumstances stated in the Certificate, the surrender charge does not apply after the
death of an Owner, unless the spouse of the first Owner to die continues or succeeds to ownership of
the Certificate.

The following is added to the Death of Owner provision in the DEATH section.

Surrender charges are waived after the death of an Owner, unless the spouse of the first Owner to die continues or succeeds to ownership
of the Certificate.

Effective Date This rider is effective on the same day as the Certificate is effective.
Nonparticipating Dividends are not payable.
Signed for the Company.

Fidelity & Guaranty Life Insurance Company

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Lee Launer
President

FGLWSC-DOO-C (2001)
Case: 1:21-cr-00239 Document #: 72-1 Filed: 01/30/24 Page 24 of 29 PagelD #:313

Market Value Adjustment Rider

The rider provides that any excess withdrawal (that is, any withdrawal in excess of permitted free withdrawals) will be subject to the application of a
market value adjustment. A positive market value adjustment will decrease the certificate's surrender value, and a negative market value adjustment will
increase its surrender value. This rider is part of the certificate to which it is attached. itis subject to the terms, conditions, and provisions contained in
the certificate. This rider will supercede any conflicting provisions of the certificate,

Definitions

Effective Date

Market Value Adjustment

Maximum Market Value
Adjustment

Nonparticipating
Rider Termination

Signed for the Company.

Market Value Adjustment Period

As shown on the certificate information page, the market value adjustment period is the same time period as the
guarantee period. This period repeats exactly like the surrender charge period repeats. The rider is in effect
throughout the duration of the certificate except during the 30-day period following the end of each guarantee period.

Surrender Request. Any request to surrender, in full or in part, or to make payments under an annuity option.

Market Value Adjustment Factor. This factor is calculated as of the date we receive the surrender request and is
i-( 1tA ) + where
14 B+.0025

« A and B are index rates (based on the Treasury Constant Maturity Series published by the Federal Reserve) for a
security with time to maturity equal to the market value adjustment period;

» Ais the index rate determined as of the beginning of the current market value adjustment period;

e Bis the index rate determined as of the date we receive the surrender request; and

¢ N is the number of months remaining to the end of current market value adjustment period, rounded up to the next
higher number of months.

Straight line interpolation is used to determine the index rate for a period to maturity not quoted, If the index rates
(based on the Treasury Constant Maturity Series published by the Federal Reserve) are discontinued, or if we are
unable to utilize them, or if the calculation is substantially changed, we may substitute another method of determining
the index rates and notify you at your last known address.

The rider's effective date is the certificate’s date of issue.

When we receive a surrender request, the portion of the account value withdrawn or applied to an annuity option will
have a market value adjustment applied in addition to any surrender charge.

The market value adjustment equals the Market Value Adjustment Factor times:
¢ The account value withdrawn or applied to an annuity option, less
« An amount equal to that portion of the account value which can be withdrawn without surrender charge.

The market value adjustment can be positive or negative.

The net total of all market value adjustments and surrender charges will not reduce the surrender value to an amount
which is less than 87.5% of the premiums paid accumulated at the minimum guaranteed accumulation interest rate,
less surrenders accumulated at the minimum guaranteed accumulation interest rate. The minimum guaranteed
accumulation interest rate for the initial guarantee period is shown on the certificate information page. The minimum
guaranteed accumulation interest rate for any subsequent guarantee periods will be determined as stated in the
Minimum Guaranteed Accumulation Interest Rate provision.

Dividends are not payable.

This rider will end on the same day that the certificate ends.

Fidelity & Guaranty Life Insurance Company
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Lee Launer
President

FGL MVAR-MYGA-87.5-F-C (3-04)
Case: 1:21-cr-00239 Document #: 72-1 Filed: 01/30/24 Page 25 of 29 PagelD #:314

Free Surrender — Partial Withdrawal of Interest

This rider is a part of the Certificate to which it is attached. It is subject to the terms, conditions, and provisions contained in the Certificate.

The SURRENDER section is amended to add the following provision:

Free Surrender - In addition to the circumstances stated in the Certificate, a portion of the account value withdrawn will
Interest Only not be subject to a surrender charge. The amount that can be surrendered without charge is an
amount equal to:
e All interest which has accrued under the Certificate, less
e Interest previously surrendered which was not subject to surrender charges.

Withdrawals are considered to be withdrawn from the interest which has accrued first and the premium

second.
Effective Date This rider is effective on the same day as the Certificate is effective.
Termination of This rider will terminate when the Certificate terminates.

Rider

Nonparticipating Dividends are not payable.

Signed for the Company.

Fidelity & Guaranty Life Insurance Company

A
(te Gin
Lee Launer
President

FGL FS-L-C (2001)

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AA a

Annuity Application

Fidelity & Guaranty Life insurance Company - Home Office: Baltimore, Maryland
Administrative Office: P.O. Box 81497; Lincoln, NE 68501-81497

Owner(s)
Name: Joint Owner (if any):
SSN or TAX ID: SSN or TAX ID:
Female Birth Date: Oi Male () Female Birth Date:
Address:
Phone No.:

(dentiication No [i Slate: PC Relationship to Owner:

Type of Identification: 2 State Issued 0 Immigration 0 Military Identification No.: Slate;
Passport © Olher Type of Identification: 0 State Issued O Immigration O Military
Oi Passport Other

Annuitant(s) (if other than Owner)

Name: Joint Annuitant (if any):
SSN or TAX ID: SSN or TAX ID:
Ci Male (Female Birth Date: OMale 0 Female Birth Date:
Addréss:. Address:
Phone No.: Phone No.:
Identification No.: State: Identification No.: State: __
Type of Identification: D0 State Issued O Immigration © Military Type of Identification: (4 State Issued C1 Immigration O Military
O Passport 1 Other Ei Passport © Other

Beneficiary
Primary C) Contingent Name: SSN:
Address: Lest feud it 5.3090 Bich Date:

Phone No.:

OPrimary Contingent Name: SSN:
Address: Birth Date:
Phone No.:

Pjan
RA Nonguali O Traditional {RA ORothIRA O SEP IRA 0 Tax-Sheltered Annuity 1 Other (specify plan type):

Premium Initial/Sinale Premium Paid: (premium paid with application) $__-_~ 2©,OGO

t . ‘
-

Replacement Do you have an existing life insurance or annuity policy? pe Yes ONo
Will the annuity applied for replace or change an existing life insurance or annuily policy? 0 Yes Pio
If 2 1035 exchange, atfach applicable forms. Exchange Amount: $

Policy/Certificate No.: - Companys
Optional Riders Enhanced Guaranteed Minimum Withdrawal Benefit (EGMWB) mm Yes No ' Note, optional riders may
+ have charges and fees.
Special I$$ee_at YS -— SF Years Karel,

Instructions

Wi-e5_ Fp ye Lick

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Annuity Application

Fidelity & Guaranty Life Insurance Company - Home Office: Baltimore, Maryland
Administrative Office: P.O, Box 81497; Lincoln, NE 68501-81497

Signature(s)

| (We) have read the statements made in this application. To the best of my (our) knowledge and belief, the statements made are complete, true, and
correctly recorded. | (We) understand that: a copy of this application may form a part of any annuity issued; the annuily will not take effect until
delivered to the Owner; no agent has the authority to modify any annuily issued; and there are terms, conditions, charges, and fees for any
optional rider selected.

I (We) understand that | (We) have applied for an indexed annuity. | (We) have received a copy of the Company’s disclosure material for
this annuity. | (We) understand that: while the values of the annuity may be affected by an external index, the annuity does not directly
participate in any stock, bond, or equity investments; any values shown, other than guaranteed minimum values, are not guarantees,
promises or warranties; and the annuity describes how the minimum guaranteed surrender values and indexed interest credits are
calculated,

I (We) understand that the Company offers indexed annuity products with different features and benefits. | (We) can also apply for any of
those products by contacting the Company or one of its agents.

| (We) certify, under penalties of perjury, that | am a (we are) U.S. Citizen(s) or resident(s) of the U.S. (includes U.S. resident aliens) and that the
taxpayer identification number(s) is (are) correct. | (We) understand that federal law requires all financial institutions to obtain identily information in
order to verify my (our) identity(ies) and | (we) authorize its use for this purpose. This information includes, but is not limited to, the name(s),
residential address(es), date(s) of birth, Socal Security or taxpayer identification number(s), and any other information necessary to sufficiently verify
identity(ies). | (We) understand that failure to provide this information could result in the application being rejected. Third parly sources may be used
to verify the information provided.

=p Signed at:
“== Signature of Owne
== Signature of Joint Owner:
ee Signature of Annuitant:
=p Signature of Joint Annuitant:

Date: oh; 2 b Z

Does the applicant have an existing life or annuity policy? rAves ONo
To the best of your knowledge, does this application replace or change existing life insurance or annuities? O ve Ae

| attest that | have witnessed all signatures. | certify that the Company's disclosure material has been presented to the applicant and a copy
was provided to the applicant. | have not made any statements which differ from this material nor have | made any guarantees or promises
about the expected future values of the annuity. | have received a copy of, have carefully read and complied with the applied for annuity’s
training manual.

| have verified the identity of the Owner, joint Owner, annuitant and joint annuitant through an examination of a state or federal
government photo identification card provided by the Owner, joint Owner, annuitant or joint annuitant such as a driver's license or

passport,
| have truly and accurately recgtded on t eal facto by the applicant. 1 /)
Agent's Signature: a Date: 4) [7 / / Z

Print Agent's Name: ‘Ahwme \ WV. ‘RoseVoaurn. Fidelity & Guaranty Life Agent No.:
Agent's License No. (required only in FL): Agent's Phone No.: G¥ 2 -SOF- SOFO
Agent's FaxNo.:_ 64 7- 5 31 - } 3057 Agent's Email Address: GAB artimquas lac p-corl

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tes 5. 7ber 19742286

Table Of Guaranteed Values

Full Certificate End Of Year End Of Year Surrender
Years Account Value Surrender Value* Factor**
1 31,260.00 28,560.00 9.00%
2 32,572.92 30,072.12 8.00%
3 33,940.98 31,660.88 7.00%
4 35,366.50 33,330.05 6.00%
5 36,851.89 35,083.57 5.00%
6 37,220.40 33,903.73 9,00%
7 37,592.60 34,614.97 8.00%:
8 37,968.52 35,337.04 7.00%
9 38,348.16 _ 36,070.05 6.00%
10 38,731.64 36,814.24 5.00%
11 39,118.95 39,118.95 0.00%
12 39,510.13 39,510.13 0.00%
13 39,905.23 39,905.23 0.00%
14 40,304.28 40,304.28 0.00%
15 40,707.32 40,707.32 0.00%
16 41,114.39 41,114.39 . 0.00%
7 41,525.53 41,525.53 0.00%
18 41,940.78 41,940.78 0.00%
19 42,360.18 42,360.18 0.00%
20 42,783.78 42,783.78 0.00%

i= 273 based on:
“2 single premium paid as shown on the certificate information page.
~:3-est credited during the guarantee period at the interest rates shown on the certificate information page and at the minimum guaranteed
=zcumulation interest rate thereafter.
~s"ewal of the guarantee period and identical surrender charges.

*.2 Sarlial surrenders are made.
\2°37<2ed cash surrender values illustrated are prior to the application of a market value adjustment.
é 7.7 any certificate year and at the end of certificate years not shown are calculated on the same basis. They will be furnished on request.

ze" value assumes your written request for surrender is not received within 30 days following the end of each guarantee period. If your written
er” “I~ surrender is received by us within 30 days following the end of each guarantee period, the surrender value will equal the account value.

"= = 70 surrender factor applied if your written request for surrender is received within 30 days following the end of each guarantee period.

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